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                                                                                    2021 Apr-28 AM 10:26
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                                                          PFE/LCP/DBL
                                                          GJ # 12 (May 2021)


           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

UNITED STATES OF AMERICA                       )
                                               )
      v.                                       )      CASE NO. _____
                                               )
PHILLIP ANTHONY MINGA                          )      18 U.S.C. §§ 2, 1343, 1347,
                                               )      and 1349

                                   INDICTMENT

The Grand Jury charges that:

      At all times relevant to this Indictment:

                                 INTRODUCTION

I.    The Medicare Program and Medicare Part D
      1.     The Medicare Program (“Medicare”) is a federal health-insurance

program that provides medical benefits, items, and services to beneficiaries: (1) aged

65 and older, (2) under 65 with certain disabilities, and (3) of all ages with end-stage

renal disease (permanent kidney failure requiring dialysis or a kidney transplant).

      2.     The Centers for Medicare and Medicaid Services (“CMS”) is an agency

of the U.S. Department of Health and Human Services and is a federal government

body responsible for the administration of Medicare.



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      3.     The Medicare programs cover different types of benefits that are

separated into different program parts.

      4.     Medicare Part D, also called the Medicare prescription drug benefit, is

a program that covers prescription drugs. Medicare beneficiaries obtain Part D

benefits in two ways: (a) by joining a prescription drug plan, which covers only

prescription drugs, or (b) by joining a Medicare Advantage Plan, which covered both

prescription drugs and medical services (collectively, “the Medicare Plans”). The

Medicare Plans are operated by private companies, often referred to as drug plan

sponsors, that are approved by Medicare.

      5.     Medicare and individual Medicare drug plan sponsors are “health care

benefit programs,” as defined by Title 18, United States Code, Section 24(b).

      6.     A pharmacy can participate in the Medicare Part D program by entering

into an agreement: (a) directly with a prescription drug plan; (b) with one or more

Pharmacy Benefit Managers (“PBMs”); or (c) with a Pharmacy Services

Administration Organization (“PSAO”). A PBM acts on behalf of one or more

prescription drug plans. Through a prescription drug plan’s PBM, a pharmacy can

join a prescription drug plan’s network. A PSAO contracts with PBMs on behalf of

the pharmacy.

      7.     CMS assigns pharmacies a national provider identifier number (“NPI”).

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A pharmacy dispensing medications to a beneficiary uses its assigned NPI number

when submitting a claim for reimbursement under Medicare Part D.

      8.     Typically, a beneficiary enrolled in a Medicare prescription drug plan

obtains prescription medications from a pharmacy enrolled in the beneficiary’s

prescription drug plan. After filling a beneficiary’s prescription, the pharmacy

submits the claim electronically either directly to a prescription drug plan or to a

PBM that represents the prescription drug plan. The pharmacy provides, among

other things, the beneficiary’s identification number and the pharmacy’s NPI

number with the claim. Then, the prescription drug plan or PBM, either directly or

indirectly, reimburses the pharmacy for the claim.

II.   Exclusion from Medicare

      9.     The Department of Health and Human Services, Office of Inspector

General (HHS OIG) has the authority to exclude medical providers and related

individuals from Medicare if they fail to disclose required material information.

      10.    Once excluded, an individual may not serve in an executive or

leadership role at a provider that furnishes items or services payable by Medicare.

Also, an excluded individual may generally not provide other types of administrative

and management services, such as information technology services and support,

strategic planning, billing and accounting, staff training, and human resources.

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       11.   HHS OIG maintains a List of Excluded Individuals/Entities that

identifies all currently excluded individuals and entities. HHS OIG recommends

that healthcare entities routinely check the List of Excluded Individuals/Entities to

ensure that new hires and current employees are not on it because employers risk

liability for employing excluded individuals. Access to this list is free and available

online.

III.   Defendant MINGA

       12.   Defendant PHILLIP ANTHONY MINGA is a resident of Mississippi

and has operated pharmacies in Alabama, Mississippi, and Arkansas.

       A.    Defendant MINGA’s Prior Criminal Conviction

       13.   On May 27, 2008, defendant MINGA was charged in federal district

court in the Northern District of Mississippi with wire fraud related to the sale of

insurance, in Case Number: 08-cr-00052-MPM-DAS.

       14.   On April 5, 2010, defendant MINGA entered a guilty plea to the charge

of wire fraud.

       15.   On November 18, 2010, defendant MINGA was sentenced by the court

to three years’ probation.

       B.    Defendant MINGA’s Exclusion from Medicare

       16.   At the time defendant MINGA was charged, he had managing control

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of a durable medical equipment supplier called Medpoint. Medpoint, at that time,

was operating in Amory, Mississippi and was enrolled in Medicare.

      17.    After defendant MINGA pled guilty and was sentenced, neither he nor

anyone else with Medpoint updated Medpoint’s Medicare enrollment information to

notify CMS of defendant MINGA’s conviction, which they were required to do.

      18.    Following an investigation by HHS OIG, on October 17, 2016,

defendant MINGA entered into an Exclusion Agreement with HHS OIG in which

defendant MINGA agreed to an exclusion from Medicare for ten years.

      19.    The exclusion agreement provided that Medicare would not pay claims

submitted by anyone who employed defendant MINGA in a management or

administrative role.

      20.    The exclusion agreement further provided that defendant MINGA

would hold Medicare harmless for any financial responsibility for claims submitted

by any entity that employed him in a management or administrative role.

      21.    The    exclusion    agreement    further   stated   defendant   MINGA

“understands that violations of the conditions of exclusion may subject him to

criminal prosecution.”

      22.    In    executing    the   exclusion   agreement,     defendant   MINGA

acknowledged having knowledge of its contents and that he entered into it

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voluntarily and with advice of counsel.

                                    Count One
            [Conspiracy: 18 U.S.C. § 1349 (18 U.S.C. § 1343 and 1347)]

      23.    Paragraphs 1 to 22 of this Indictment are fully incorporated as though

set forth herein.

                               THE CONSPIRACY

      24.    Beginning at least in or about October 2016 and continuing until at least

in or about September 2019, the exact dates being unknown, within Walker County

in the Northern District of Alabama, and elsewhere, defendant PHILLIP

ANTHONY MINGA knowingly and willfully conspired, combined, and agreed

with those known and unknown to the Grand Jury:

      a)    to execute and attempt to execute a scheme and artifice to defraud
      health care benefit programs affecting commerce, as defined in Title 18,
      United States Code, Section 24(b), that is, the Medicare program and
      Medicare drug plan sponsors, to obtain by means of materially false and
      fraudulent pretenses, representations, and promises, money and property
      owned by, and under the custody and control of, said health care benefit
      programs, in connection with the delivery and payment for health care
      benefits, items, and services in violation of Title 18, United States Code,
      Section 1347; and

      b)    to devise and intend to devise a scheme and artifice to defraud the
      Medicare program and Medicare drug plan sponsors, and others, and to obtain
      money and property belonging to others by means of materially false and
      fraudulent pretenses, representations, and promises by use of interstate wire
      transmissions, in violation of Title 18, United States Code, Section 1343.

                       OBJECT OF THE CONSPIRACY
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      25.   It was the object of the conspiracy for defendant PHILLIP

ANTHONY MINGA and other co-conspirators known and unknown to the grand

jury to unlawfully enrich themselves by concealing from Medicare and Medicare

drug plan sponsors defendant MINGA’s ownership interests and managerial roles

in multiple pharmacies and by submitting claims to Medicare and Medicare drug

plan sponsors for reimbursement to which those pharmacies were not entitled due to

defendant MINGA’s involvement with the pharmacies.

              MANNER AND MEANS OF THE CONSPIRACY

      26.   It was a part of the conspiracy that defendant MINGA, once excluded

from Medicare, continued to bill Medicare and Medicare drug plan sponsors by

submitting and causing the submission of claims under NPI numbers registered to

multiple pharmacies that defendant MINGA had an ownership and managerial

interest in, including Bowie’s Priority Care Pharmacy, LLC, Vickers Pharmacy, and

others.

      27.   It was a further part of the conspiracy that defendant MINGA and other

co-conspirators failed to disclose to Medicare, Medicare drug plan sponsors, and

other regulatory authorities that defendant MINGA had ownership interests and

managerial roles in these pharmacies.




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      28.    It was a further part of the conspiracy that the defendant MINGA and

other co-conspirators used electronic claims systems to submit claims to Medicare

and Medicare drug plan sponsors by interstate wire transmission.

      29.    It was a further part of the conspiracy that in violation of his exclusion

agreement, from October 2016 to September 2019, defendant MINGA caused

Medicare and Medicare drug plan sponsors to pay millions of dollars in total to

multiple pharmacies, including Bowie’s Priority Care Pharmacy, LLC and Vickers

Pharmacy, for items, including administrative and managerial services, that

defendant MINGA furnished or ordered while serving as owner, employee,

administrator, and in other capacities at these pharmacies.

      All in violation of Title 18, United States Code, Section 1349.

                               Counts 2 through 5
                      [Health Care Fraud: 18 U.S.C. § 1347]

      30.    Paragraphs 1 to 22 of this Indictment are fully incorporated as though

set forth herein.

      31.    Beginning at least in or about October 2016 and continuing until at least

in or about September 2019, the exact dates being unknown, within Walker County

in the Northern District of Alabama, and elsewhere, defendant PHILLIP

ANTHONY MINGA did knowingly and willfully execute and attempt to execute a

scheme and artifice to defraud health care benefit programs affecting commerce, as
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defined in Title 18, United States Code, Section 24(b), that is, Medicare and

Medicare drug plan sponsors, and others, and to obtain, by means of materially false

and fraudulent pretenses, representations, and promises, money and property owned

by and under the custody and control of these and other health care benefit programs,

in connection with the delivery of and payment for health care benefits, items, and

services.

                PURPOSE OF THE SCHEME AND ARTIFICE

      32.    Paragraph 25 of this Indictment is realleged and incorporated by

reference as though fully set forth herein as the description of the purpose of the

health care fraud scheme and artifice.

                        THE SCHEME AND ARTIFICE

      33.    Paragraphs 26 to 29 of this Indictment are hereby incorporated by

reference as though fully set forth herein, with the words “scheme and artifice”

replacing “conspiracy” in the first sentence of each paragraph.

        ACTS IN EXECUTION OF THE SCHEME AND ARTIFICE

      34.    On or about the dates set forth below for each Count listed in the table

below, each such date constituting a separate count of this Indictment, in Walker

County, within the Northern District of Alabama, and elsewhere, defendant

PHILLIP ANTHONY MINGA, in connection with the delivery of and payment

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for health care benefits, items, and services, did knowingly and willfully execute and

attempt to execute the above-described scheme and artifice to defraud health care

benefit programs affecting commerce, that is, Medicare and Medicare drug plan

sponsors, and to obtain, by means of materially false and fraudulent pretenses,

representations, and promises (including that the prescriptions were medically

necessary), money and property owned by, and under the custody and control of,

Medicare and Medicare drug plan sponsors.

        35.    The allegations of paragraphs 31 to 34 above are realleged for each of

Counts 2 through 5 below, as though fully set forth therein, when, on or about the

dates set forth below in the table below, defendant PHILLIP ANTHONY MINGA

did cause the submission of prescription payment claims through certain pharmacies

that Minga managed or controlled to Medicare and Medicare drug plan sponsors,

and cause the payment of these prescription claims by Medicare and Medicare drug

plan sponsors (with the Medicare drug plan sponsor listed in a parenthetical) of the

following:

Count         RX #     Patient      Healthcare Benefit     Approx.      Pharmacy
                       Initials         Program            Date
                                                           Submitted
2        6090016       R.F.       Medicare                 February     Vickers
                                  (Excellus Health Plan)   17, 2017     Pharmacy
3        6106146       R.F.       Medicare                 April 20,    Vickers
                                  (Excellus Health Plan)   2017         Pharmacy
4        6137846       H.A.       Medicare                 August 28,   Vickers
                                  (CareSource)             2017         Pharmacy
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Count         RX #     Patient      Healthcare Benefit    Approx.     Pharmacy
                       Initials         Program           Date
                                                          Submitted
5        760031173     M.T.       Medicare                January 24, Bowie’s
                                  (Care Improvement Plus) 2018        Priority  Care
                                                                      Pharmacy, LLC

        All in violation of Title 18, United States Code, Sections 1347 and 2.

                                   Counts 6 through 8
                              [Wire Fraud: 18 U.S.C. § 1343]

        36.    Paragraphs 1 to 22 of the Introduction to this Indictment are fully

incorporated as though set forth herein.

        37.    Beginning at least in or about October 2016 and continuing until at least

in or about September 2019, the exact dates being unknown, within Walker County

in the Northern District of Alabama, and elsewhere, defendant PHILLIP

ANTHONY MINGA, having devised and intending to devise a scheme and artifice

to defraud, and for obtaining money and property by means of false and fraudulent

pretenses, representations, and promises, knowingly did transmit and cause to be

transmitted by means of wire, radio, and television communication in interstate and

foreign commerce, writings, signs, signals, pictures, and sounds, for the purposes of

executing such scheme and artifice, that is, defendant PHILLIP ANTHONY

MINGA caused to be transmitted by means of wire prescription claims to Medicare

and Medicare drug plan sponsors.


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                PURPOSE OF THE SCHEME AND ARTIFICE

      38.    Paragraph 25 of this Indictment is realleged and incorporated by

reference as though fully set forth herein as the description of the purpose of the mail

fraud scheme and artifice.

                         THE SCHEME AND ARTIFICE

      39.    Paragraphs 26 to 29 of this Indictment are hereby incorporated by

reference as though fully set forth herein, with the words “scheme and artifice”

replacing “conspiracy” in the first sentence of each paragraph.

                                    THE WIRES

      40.    The allegations of paragraphs 37 to 39 of this Indictment are realleged

as though fully set forth herein.

      41.    On or about the dates specified in the table below, each such date

constituting a separate count of the Indictment, in Walker County, within the

Northern District of Alabama, and elsewhere, for the purpose of executing and

attempting to execute the above-described scheme and artifice to defraud and to

obtain money by means of materially false and fraudulent pretenses, representations,

and promises, defendant PHILLIP ANTHONY MINGA knowingly transmitted or

caused to be transmitted by means of wire, in interstate commerce, writings, signs,

and signals for the purpose of executing the above scheme or artifice:

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Count     RX #      Patient    Healthcare Benefit Approx.        Pharmacy
                    Initials        Program       Date
                                                  Submitted
6       6143018     J.S.       Medicare           June 6,        Bowie’s Priority
                               (UnitedHealthcare) 2017           Care Pharmacy,
                                                                 LLC
7       760032109   W.H.       Medicare             February     Bowie’s Priority
                               (UnitedHealthcare)   22, 2018     Care Pharmacy,
                                                                 LLC
8       760032109   W.H.       Medicare             May 1,       Bowie’s Priority
                               (UnitedHealthcare)   2018         Care Pharmacy,
                                                                 LLC

    All in violation of Title 18, United States Code, Sections 1343 and 2.




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                           NOTICE OF FORFEITURE

      1.     The allegations in Count One through Eight of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to Title 18, United States Code, Section 982(a)(7).

      2.     Upon conviction of the offenses set forth in Counts One through Eight

of this Indictment, the defendant

                          PHILLIP ANTHONY MINGA,

shall forfeit to the United States of America, pursuant to Title 18, United States

Code, Section 982(a)(7), any property, real or personal, that constitutes or is derived,

directly or indirectly, from gross proceeds traceable to the commission of the health

care fraud offenses charged in Counts One through Eight of this Indictment.

      3.     The property to be forfeited includes but is not limited to a forfeiture

money judgment.

      4.     If any of the property described above, as a result of any act or omission

of the defendant:

                a. cannot be located upon the exercise of due diligence;

                b. has been transferred or sold to, or deposited with, a third party;

                c. has been placed beyond the jurisdiction of the court;

                d. has been substantially diminished in value; or

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               e. has been commingled with other property which cannot be

                   divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c).

            All pursuant to 18 U.S.C. § 982(a)(7).

A TRUE BILL


/s/ Electronic Signature
FOREPERSON OF THE GRAND JURY


                                             PRIM F. ESCALONA
                                             United States Attorney

                                             /s/ Electronic Signature
                                             LLOYD C. PEEPLES, III
                                             Assistant United States Attorney

                                             /s/ Electronic Signature
                                             DON B. LONG
                                             Assistant United States Attorney




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